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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :
                                                    CRIMINAL NO. 17-347
               v.                           :

CARL FREDERIC SEALEY                        :

                          GOVERNMENT'S MOTION TO AMEND

       The United States of America, by and through its attorneys, William M. McSwain,

United States Attorney, and Anita Eve, Assistant United States Attorney, submits this Motion to

Amend the restitution amount ordered by the Court in the above-captioned matter.

       As the Court is aware, on September 28, 2018, at the time of sentencing in this matter,

the government advised the Court that the actual loss to the victims was $1,508,325.   Pursuant

to 18 U.S.C. § 3663A and USSG § 5E1.1, the government requested that the Court issue a

restitution Order in this amount.

       Following the sentencing hearing, the government reconsidered the actual loss suffered

by the victims, contacted sources with information regarding such, and determined that the actual

loss amount is $1,470,825.

       Therefore, the government respectfully requests that the Court amend the amount of the

restitution for which the defendant should be accountable to $1,470,825.

                                            Respectfully submitted,

                                            WILLIAM M. McSWAIN
                                            United States Attorney


                                             /s/ ANITA EVE
                                            ANITA EVE
                                            Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

               I certify that on this day I caused a copy of the Government’s Motion to Amend

has been electronically filed on the Electronic Case Filing system and is available for viewing

and downloading from the ECF system, and was served by electronic mail on:

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                                               /s/ Anita Eve
                                             ANITA EVE
                                             Assistant United States Attorney

Date: October 4, 2018
